                                                                                               Case 06-70512                       Doc 1           Filed 05/25/06 Entered 05/25/06 09:13:43                                          Desc Main
                                                                                                                                                     Document     Page 1 of 45
                                                                             (Official Form 1) (10/05)
                                                                                                                       United States Bankruptcy Court
                                                                                                                         Western District of Virginia                                                                             Voluntary Petition
                                                                              Name of Debtor (if individual, enter Last, First, Middle):                                          Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                               Barrett, Valerie Jill
                                                                              All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
                                                                              (include married, maiden, and trade names):                                                          (include married, maiden, and trade names):
                                                                               aka Valerie Jill Rhudy Barrett; aka Jill Barrett

                                                                              Last four digits of Soc.Sec.No./Complete EIN or other Tax ID No. (if more                            Last four digits of Soc.Sec.No./Complete EIN or other Tax ID No. (if more
                                                                              than one, state all):    0517                                                                        than one, state all):

                                                                              Street Address of Debtor (No. & Street, City, and State)                                            Street Address of Joint Debtor (No. & Street, City, and State
                                                                               3864 Wilson Highway
                                                                               Independence, VA                                                      ZIPCODE                                                                                    ZIPCODE
                                                                                                                                                         24348
                                                                              County of Residence or of the Principal Place of Business:                                          County of Residence or of the Principal Place of Business:

                                                                               Grayson

                                                                              Mailing Address of Debtor (if different from street address):                                       Mailing Address of Joint Debtor (if different from street address):


                                                                                                                                                     ZIPCODE                                                                                    ZIPCODE

                                                                              Location of Principal Assets of Business Debtor (if different from street address above):
                                                                               Attorney:         Scot S. Farthing, 44045
                                                                                                 Scot S. Farthing, Attorney At Law, PC
                                                                                                 P.O. Box 1315
                                                                                                 Wytheville, VA 24382 ph: 276-625-0222                                                                                                          ZIPCODE

                                                                              Type of Debtor (Form of Organization)                        Nature of Business                                Chapter of Bankruptcy Code Under Which
                                                                                    (Check one box)                                     (Check all applicable boxes)                            the Petition is Filed (Check one box)
                                                                                                                                    Health Care Business
                                                                                 Individual (includes Joint Debtors)                                                                     Chapter 7             Chapter 11        Chapter 13
                                                                                                                                    Single Asset Real Estate as defined in
                                                                                 Corporation (includes LLC and LLP)                 11 U.S.C. § 101 (51B)
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                                                                                                                                                                                         Chapter 9             Chapter 12        Chapter 15 Petition for Recognition
                                                                                 Partnership                                        Railroad                                                                                     of a Foreign Proceeding
                                                                                 Other (if debtor is not one of the above           Stockbroker
                                                                                 entities, check this box and provide the                                                                              Nature of Debts (Check one box)
                                                                                 information requested below)                       Commodity Broker

                                                                                 State type of entity:                              Clearing Bank                                                                                Business
                                                                                                                                                                                         Consumer/Non-Business
                                                                                                                                    Nonprofit Organization qualified under
                                                                                                                                    15 U.S.C. § 501(c)(3)


                                                                                                         Filing Fee (Check one box)
                                                                                                                                                                                              Chapter 11 Debtors: (Check any applicable box)
                                                                                 Full Filing Fee attached
                                                                                                                                                                                         Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                 Filing Fee to be paid in installments (Applicable to individuals only)
                                                                                 Must attach signed application for the court's consideration certifying that the debtor is              Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                 unable to pay fee except in installments. Rule 1006(b). See Official Form No. 3A.
                                                                                                                                                                                         Debtor’s aggregate noncontingent liquidated debts owed to non-insiders
                                                                                 Filing Fee waiver requested (Applicable to individuals only). Must attach signed
                                                                                 application for the court’s consideration. See Official Form 3B.                                        or affiliates are less than $2 million


                                                                              Statistical/Administrative Information                                                                                                            THIS SPACE IS FOR COURT USE ONLY
                                                                                 Debtor estimates that funds will be available for distribution to unsecured creditors.

                                                                                 Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                 distribution to unsecured creditors.
                                                                              Estimated Number of
                                                                              Creditors    1-                 50-           100-        200-        1000-      5,001-         10,001-     25,001-    50,001-     OVER
                                                                                                 49           99            199         999         5000       10,000         25,000      50,000     100,000     100,000



                                                                             Estimated Assets
                                                                                  $0 to        $50,001 to       $100,001 to         $500,001 to     $1,000,001 to      $10,000,001 to      $50,000,001 to       More than
                                                                                 $50,000        $100,000         $500,000            $1 million      $10 million        $50 million         $100 million       $100 million


                                                                             Estimated Debts
                                                                                  $0 to        $50,001 to        $100,001 to         $500,001 to     $1,000,001 to      $10,000,001 to     $50,000,001 to       More than
                                                                                 $50,000        $100,000          $500,000            $1 million      $10 million        $50 million        $100 million       $100 million
                                                                                             Case 06-70512                Doc 1          Filed 05/25/06 Entered 05/25/06 09:13:43                                                Desc Main
                                                                             (Official Form 1) (10/05)                                     Document     Page 2 of 45
                                                                                                                                                                                                                                             FORM B1, Page 2
                                                                             Voluntary Petition                                                                          Name of Debtor(s):
                                                                              (This page must be completed and filed in every case)                                        Valerie Jill Barrett
                                                                                                 Prior Bankruptcy Case Filed Within Last 8 Years (If more than one, attach additional sheet)
                                                                              Location                                                                           Case Number:                                           Date Filed:
                                                                              Where Filed:        NONE

                                                                                 Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                              Name of Debtor:                                                                     Case Number:                                          Date Filed:
                                                                                                  NONE

                                                                              District:                                                                           Relationship:                                         Judge:



                                                                                                        Exhibit A                                                                                         Exhibit B
                                                                                                                                                                                              (To be completed if debtor is an individual
                                                                              (To be completed if debtor is required to file periodic reports (e.g., forms                                    whose debts are primarily consumer debts)
                                                                              10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                              Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting          I, the attorney for the petitioner named in the foregoing petition, declare that I have informed
                                                                                                                                                                    the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United
                                                                              relief under chapter 11)                                                              States Code, and have explained the relief available under each such chapter.
                                                                                                                                                                    I further certify that I delivered to the debtor the notice required by § 342(b) of the
                                                                                                                                                                    Bankruptcy Code.


                                                                                      Exhibit A is attached and made a part of this petition.                       X        /s/ Scot S. Farthing                                     May 19, 2006
                                                                                                                                                                          Signature of Attorney for Debtor(s)                             Date


                                                                                                         Exhibit C                                                             Certification Concerning Debt Counseling
                                                                             Does the debtor own or have possession of any property that poses or is                                  by Individual/Joint Debtor(s)
                                                                             alleged to pose a threat of imminent and identifiable harm to public health or               I/we have received approved budget and credit counseling during the 180-
                                                                             safety?                                                                                      day period preceding the filing of this petition.
                                                                                      Yes, and Exhibit C is attached and made a part of this petition.
                                                                                                                                                                          I/we request a waiver of the requirement to obtain budget and credit
                                                                                      No                                                                                  counseling prior to filing based on exigent circumstances. (Must attach
                                                                                                                                                                          certification describing.)

                                                                                                                      Information Regarding the Debtor (Check the Applicable Boxes)
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                                                                                                                                           Venue (Check any applicable box)
                                                                                                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
                                                                                                    immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.


                                                                                                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                                                                                                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates
                                                                                                   in this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                                                                                                   proceeding [in federal or state court] in this District, or the interests of the parties sill be served in regard to the relief
                                                                                                   sought in this District.


                                                                                                               Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                    Check all applicable boxes
                                                                                                    Landlord has a judgment for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                    (Name of landlord or lessor that obtained judgment)


                                                                                                                                                     (Address of landlord or lessor)

                                                                                                   Debtor claims that under applicable non bankruptcy law, there are circumstances under which the debtor would be permitted to
                                                                                                   cure the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and



                                                                                                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day
                                                                                                    period after the filing of the petition.
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                                                                             (Official Form 1) (12/05)
                                                                                                                                           Document     Page 3 of 45
                                                                                                                                                                                                                                           FORM B1, Page 3
                                                                              Voluntary Petition                                                                    Name of Debtor(s):
                                                                              (This page must be completed and filed in every case)                                      Valerie Jill Barrett
                                                                                                                                                             Signatures
                                                                                         Signature(s) of Debtor(s) (Individual/Joint)                                             Signature of a Foreign Representative of a
                                                                                I declare under penalty of perjury that the information provided in this petition                     Recognized Foreign Proceedings
                                                                                is true and correct.
                                                                                [If petitioner is an individual whose debts are primarily consumer debts and        I declare under penalty of perjury that the information provided in this petition
                                                                                has chosen to file under chapter 7] I am aware that I may proceed under             is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief     main proceeding, and that I am authorized to file this petition.
                                                                                available under each such chapter, and choose to proceed under chapter 7.
                                                                                [If no attorney represents me and no bankruptcy peititon preparer signs the         (Check only one box.)
                                                                                petition] I have obtained and read the notice required by § 342(b) of the
                                                                                Bankruptcy Code.
                                                                                                                                                                                I request relief in accordance with chapter 15 of title 11, United States
                                                                                                                                                                                Code. Certified copies of the documents required by § 1515 of title 11 are
                                                                                                                                                                                attached.
                                                                                I request relief in accordance with the chapter of title 11, United States
                                                                                Code, specified in this petition.
                                                                                                                                                                                Pursuant to § 1511 of title 11United States Code, I request relief in accordance
                                                                                                                                                                                with the chapter of title 11 specified in this petition. A certified copy of the
                                                                                                                                                                                order granting recognition of the foreign main proceeding is attached.
                                                                                X /s/ Valerie Jill Barrett
                                                                                    Signature of Debtor                                                                 X
                                                                                                                                                                            (Signature of Foreign Representative)
                                                                                X
                                                                                    Signature of Joint Debtor

                                                                                                                                                                            (Printed Name of Foreign Representative)
                                                                                     Telephone Number (If not represented by attorney)

                                                                                     May 19, 2006                                                                            (Date)
                                                                                     Date


                                                                                                     Signature of Attorney                                                    Signature of Non-Attorney Petition Preparer
                                                                                                                                                                    I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer
                                                                               X       /s/ Scot S. Farthing
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                                                                                                                                                                    as defined in 11 U.S.C. § 110, 2) I prepared this document for compensation,
                                                                                     Signature of Attorney for Debtor(s)                                            and have provided the debtor with a copy of this document and the notices
                                                                                                                                                                    and information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and,
                                                                                    SCOT S. FARTHING 44045                                                          3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110
                                                                                    Printed Name of Attorney for Debtor(s)                                          setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                                                                                    preparers, I have given the debtor notice of the maximum amount before any
                                                                                    Scot S. Farthing, Attorney At Law, PC                                           document for filing for a debtor or accepting any fee from the debtor, as
                                                                                    Firm Name                                                                       required in that section. Official Form 19B is attached.
                                                                                    P.O. Box 1315
                                                                                    Address
                                                                                                                                                                    Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                    Wytheville, VA 24382

                                                                                    276-625-0222                                                                     Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                                                                                                     state the Social Security number of the officer, principal, responsible person or
                                                                                 Telephone Number
                                                                                                                                                                     partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110(c).)
                                                                                    May 19, 2006
                                                                                  Date
                                                                                                                                                                     Address
                                                                                       Signature of Debtor (Corporation/Partnership)
                                                                                I declare under penalty of perjury that the information provided in this petition
                                                                                is true and correct, and that I have been authorized to file this petition on       X
                                                                                behalf of the debtor.
                                                                                                                                                                        Signature of Bankruptcy Petition Preparer or officer, principal, responsible
                                                                                The debtor requests relief in accordance with the chapter of title 11,                  person, or partner whose social security number is provided above.
                                                                                United States Code, specified in this petition.
                                                                                                                                                                        Names and Social Security numbers of all other individuals who prepared or
                                                                               X                                                                                        assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                        not an individual:
                                                                                    Signature of Authorized Individual


                                                                                    Printed Name of Authorized Individual                                               If more than one person prepared this document, attach additional sheets
                                                                                                                                                                        conforming to the appropriate official form for each person.

                                                                                    Title of Authorized Individual                                                      A bankruptcy petition preparer s failure to comply with the provisions of title 11
                                                                                                                                                                        and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                  Date                                                                                  imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
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                                                                             FORM 6. SCHEDULES


                                                                             Summary of Schedules

                                                                             Schedule A - Real Property
                                                                             Schedule B - Personal Property
                                                                             Schedule C - Property Claimed as Exempt
                                                                             Schedule D - Creditors Holding Secured Claims
                                                                             Schedule E - Creditors Holding Unsecured Priority Claims
                                                                             Schedule F - Creditors Holding Unsecured Nonpriority Claims
                                                                             Schedule G - Executory Contracts and Unexpired Leases
                                                                             Schedule H - Codebtors
                                                                             Schedule I - Current Income of Individual Debtor(s)
                                                                             Schedule J - Current Expenditures of Individual Debtor(s)

                                                                             Unsworn Declaration under Penalty of Perjury
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                                                                             GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
                                                                             amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
                                                                             identified with the debtor’s name and case number. If the schedules are filed with the petition,
                                                                             the case number should be left blank

                                                                             Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
                                                                             claim is secured only in part or entitled to priority only in part, it still should be listed only once.
                                                                             A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
                                                                             which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
                                                                             the same claim twice. If a creditor has more than one claim, such as claims arising from separate
                                                                             transactions, each claim should be scheduled separately.

                                                                             Review the specific instructions for each schedule before completing the schedule.
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                                                                             Form B6A
                                                                             (10/05)
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                                                                             In re      Valerie Jill Barrett                                                             Case No.
                                                                                                        Debtor                                                                                                  (If known)

                                                                                                                           SCHEDULE A - REAL PROPERTY
                                                                                Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
                                                                             cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable
                                                                             for the debtor’s own benefit. If the debtor is married, state whether husband, wife, or both own the property by placing an “H,” “W,” “J,” or “C” in
                                                                             the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under “Description and
                                                                             Location of Property.”

                                                                               Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                             Unexpired Leases.

                                                                                 If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                             claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                             Property Claimed as Exempt.




                                                                                                                                                                                HUSBAND, WIFE, JOINT
                                                                                                                                                                                  OR COMMUNITY
                                                                                                                                                                                                         CURRENT VALUE
                                                                                                                                                                                                           OF DEBTOR’S
                                                                                             DESCRIPTION AND LOCATION                          NATURE OF DEBTOR’S                                          INTEREST IN       AMOUNT OF
                                                                                                    OF PROPERTY                               INTEREST IN PROPERTY                                     PROPERTY, WITHOUT      SECURED
                                                                                                                                                                                                         DEDUCTING ANY         CLAIM
                                                                                                                                                                                                         SECURED CLAIM
                                                                                                                                                                                                          OR EXEMPTION



                                                                                     NONE
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                                                                                                                                                                        Total                                       0.00
                                                                                                                                                                        (Report also on Summary of Schedules.)
                                                                                                 Case 06-70512                        Doc 1      Filed 05/25/06 Entered 05/25/06 09:13:43                       Desc Main
                                                                             Form B6B
                                                                             (10/05)
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                                                                             In re      Valerie Jill Barrett                                                                     Case No.
                                                                                                               Debtor                                                                             (If known)

                                                                                                                                SCHEDULE B - PERSONAL PROPERTY
                                                                                   Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                             place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                             identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the
                                                                             property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint
                                                                             petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                 Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                             Unexpired Leases.

                                                                                  If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                             In providing the information requested in this schedule, do not include the name or address of a minor child. Simply state "a minor child.”




                                                                                                                                                                                                         HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                CURRENT VALUE OF




                                                                                                                                                                                                           OR COMMUNITY
                                                                                                                                                                                                                                DEBTOR’S INTEREST
                                                                                                                                        N                                                                                          IN PROPERTY,
                                                                                          TYPE OF PROPERTY                              O                     DESCRIPTION AND LOCATION                                               WITHOUT
                                                                                                                                        N                           OF PROPERTY                                                  DEDUCTING ANY
                                                                                                                                        E                                                                                        SECURED CLAIM
                                                                                                                                                                                                                                  OR EXEMPTION



                                                                               1. Cash on hand.                                               Cash                                                                                       200.00


                                                                               2. Checking, savings or other financial accounts,              Mountain National Bank Checking Account                                                     75.10
                                                                               certificates of deposit, or shares in banks, savings
                                                                               and loan, thrift, building and loan, and homestead
                                                                               associations, or credit unions, brokerage houses,
                                                                               or cooperatives.                                               BB&T Checking                                                                               49.10
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                                                                               3. Security deposits with public utilities,             X
                                                                               telephone companies, landlords, and others.

                                                                               4. Household goods and furnishings, including                  VCR                                                                                         50.00
                                                                               audio, video, and computer equipment.


                                                                                                                                              Bookcase                                                                                    50.00

                                                                                                                                              Pots and Pans                                                                              100.00

                                                                                                                                              Beds and Bedding (4)                                                                       250.00

                                                                                                                                              X-Box                                                                                      150.00

                                                                                                                                              Personal Computer and Printer                                                              150.00


                                                                               5. Books. Pictures and other art objects,                      Books                                                                                       50.00
                                                                               antiques, stamp, coin, record, tape, compact disc,
                                                                               and other collections or collectibles.

                                                                               6. Wearing apparel.                                            Family Clothing (mother & 6 children)                                                      150.00
                                                                                                  Case 06-70512                        Doc 1     Filed 05/25/06 Entered 05/25/06 09:13:43                         Desc Main
                                                                             Form B6B-Cont.
                                                                             (10/05)
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                                                                             In re      Valerie Jill Barrett                                                                      Case No.
                                                                                                                Debtor                                                                                (If known)

                                                                                                                                   SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                      (Continuation Sheet)




                                                                                                                                                                                                           HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                  CURRENT VALUE OF




                                                                                                                                                                                                             OR COMMUNITY
                                                                                                                                                                                                                                  DEBTOR’S INTEREST
                                                                                                                                        N                                                                                            IN PROPERTY,
                                                                                          TYPE OF PROPERTY                              O                     DESCRIPTION AND LOCATION                                                 WITHOUT
                                                                                                                                        N                           OF PROPERTY                                                    DEDUCTING ANY
                                                                                                                                        E                                                                                          SECURED CLAIM
                                                                                                                                                                                                                                    OR EXEMPTION


                                                                                7. Furs and jewelry.                                           Wedding Ring                                                                                200.00


                                                                                8. Firearms and sports, photographic, and other         X
                                                                                hobby equipment.

                                                                                9. Interests in insurance policies. Name                       Life Insurance Policy with Midland Insurance Company                                          0.00
                                                                                insurance company of each policy and itemize
                                                                                surrender or refund value of each.

                                                                                10. Annuities. Itemize and name each issuer.            X
                                                                                11. Interests in an education IRA as defined in 26      X
                                                                                U.S.C. § 530(b)(1) or under a qualified State
                                                                                tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                Give particulars. (File separately the record(s) of
                                                                                any such interest(s). 11 U.S.C. § 521(c); Rule
                                                                                1007(b)).

                                                                                12. Interests in IRA, ERISA, Keogh, or other            X
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                                                                                pension or profit sharing plans. Give particulars.

                                                                                13. Stock and interests in incorporated and             X
                                                                                unincorporated businesses. Itemize.

                                                                                14. Interests in partnerships or joint ventures.        X
                                                                                Itemize.

                                                                                15. Government and corporate bonds and other            X
                                                                                negotiable and non-negotiable instruments.

                                                                                16. Accounts receivable.                                X
                                                                                17. Alimony, maintenance, support, and property                Child Support Arrears                                                                    49,206.05
                                                                                settlement to which the debtor is or may be
                                                                                entitled. Give particulars.

                                                                                18. Other liquidated debts owing debtor including       X
                                                                                tax refunds. Give particulars.

                                                                                19. Equitable or future interests, life estates, and    X
                                                                                rights or powers exercisable for the benefit of the
                                                                                debtor other than those listed in Schedule of Real
                                                                                Property.

                                                                                20. Contingent and noncontingent interests in           X
                                                                                estate or a decedent, death benefit plan, life
                                                                                insurance policy, or trust.

                                                                                21. Other contingent and unliquidated claims of         X
                                                                                every nature, including tax refunds, counterclaims
                                                                                of the debtor, and rights of setoff claims. Give
                                                                                estimated value of each.
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                                                                             Form B6B-Cont.
                                                                             (10/05)
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                                                                             In re      Valerie Jill Barrett                                                                   Case No.
                                                                                                                Debtor                                                                                  (If known)

                                                                                                                                  SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                                                                                  HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                         CURRENT VALUE OF




                                                                                                                                                                                                                    OR COMMUNITY
                                                                                                                                                                                                                                         DEBTOR’S INTEREST
                                                                                                                                      N                                                                                                     IN PROPERTY,
                                                                                          TYPE OF PROPERTY                            O                   DESCRIPTION AND LOCATION                                                            WITHOUT
                                                                                                                                      N                         OF PROPERTY                                                               DEDUCTING ANY
                                                                                                                                      E                                                                                                   SECURED CLAIM
                                                                                                                                                                                                                                           OR EXEMPTION


                                                                                22. Patents, copyrights, and other intellectual       X
                                                                                property. Give particulars.

                                                                                23. Licenses, franchises, and other general           X
                                                                                intangibles. Give particulars.

                                                                                24. Customer lists or other compilations              X
                                                                                containing personally identifiable information (as
                                                                                defined in 11 U.S.C. § 101(41A)) in customer
                                                                                lists or similar compilations provided to the
                                                                                debtor by individuals in connection with obtaining
                                                                                a product or service from the debtor primarily for
                                                                                personal, family, or household purposes.

                                                                                25. Automobiles, trucks, trailers, and other                 2001 Ford Windstar                                                                                 5,980.00
                                                                                vehicles and accessories.



                                                                                26. Boats, motors, and accessories.                   X
                                                                                27. Aircraft and accessories.                         X
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                                                                                28. Office equipment, furnishings, and supplies.      X
                                                                                29. Machinery, fixtures, equipment, and supplies      X
                                                                                used in business.

                                                                                30. Inventory.                                        X
                                                                                31. Animals.                                          X
                                                                                32. Crops - growing or harvested. Give                X
                                                                                particulars.

                                                                                33. Farming equipment and implements.                 X
                                                                                34. Farm supplies, chemicals, and feed.               X
                                                                                35. Other personal property of any kind not           X
                                                                                already listed. Itemize.




                                                                                                                                                                  0   continuation sheets attached        Total                          $     56,660.25
                                                                                                                                                                      (Include amounts from any continuation
                                                                                                                                                                        sheets attached. Report total also on
                                                                                                                                                                              Summary of Schedules.)
                                                                                                Case 06-70512         Doc 1        Filed 05/25/06 Entered 05/25/06 09:13:43           Desc Main
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                                                                             In re     Valerie Jill Barrett                                                 Case No.
                                                                                                        Debtor                                                                 (If known)

                                                                                                   SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                Debtor claims the exemptions to which debtor is entitled under:
                                                                                (Check one box)
                                                                                     11 U.S.C. § 522(b)(2):

                                                                                     11 U.S.C. § 522(b)(3):



                                                                                                                                                                                         CURRENT
                                                                                                                                             SPECIFY LAW            VALUE OF        VALUE OF PROPERTY
                                                                                         DESCRIPTION OF PROPERTY                           PROVIDING EACH           CLAIMED         WITHOUT DEDUCTING
                                                                                                                                              EXEMPTION            EXEMPTION            EXEMPTION


                                                                                Cash                                             Va. Code §34-4                         200.00                200.00

                                                                                Mountain National Bank Checking Account          Va. Code §34-4                          75.10                 75.10

                                                                                BB&T Checking                                    Va. Code §34-4                          49.10                 49.10

                                                                                VCR                                              Va. Code §34-26 (4)(a)                  50.00                 50.00

                                                                                Bookcase                                         Va. Code §34-26 (4)(a)                  50.00                 50.00

                                                                                Pots and Pans                                    Va. Code §34-26 (4)(a)                 100.00                100.00

                                                                                Beds and Bedding (4)                             Va. Code §34-26 (4)(a)                 250.00                250.00
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                                                                                Books                                            Va. Code §34-26 (4)(a)                  50.00                 50.00

                                                                                Family Clothing (mother & 6 children)            Va. Code §34-26 (4)                    150.00                150.00

                                                                                Wedding Ring                                     Va. Code §34-26 (1)(a)                 200.00                200.00

                                                                                X-Box                                            Va. Code §34-26 (4)(a)                 150.00                150.00

                                                                                Child Support Arrears                            Va. Code §34-4                            1.00             49,206.05

                                                                                2001 Ford Windstar                               Va. Code §34-26 (8)                   2,000.00              5,980.00
                                                                                                                                 Va. Code §34-4                        3,244.19

                                                                                Personal Computer and Printer                    Va. Code §34-26 (4)(a)                 150.00                150.00
                                                                                           Case 06-70512              Doc 1                  Filed 05/25/06 Entered 05/25/06 09:13:43                                                          Desc Main
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                                                                             Form B6D
                                                                             (10/05)

                                                                                      Valerie Jill Barrett
                                                                             In re _______________________________________________,                                                          Case No. _________________________________
                                                                                                             Debtor                                                                                                                             (If known)

                                                                                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                        State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                             by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                             useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                             such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                         List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating "a minor child."
                                                                             See 11 U.S.C §112; Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                             include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                             husband, wife, both of them, or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled
                                                                             "Husband, Wife, Joint, or Community."
                                                                                        If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                             labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                             one of these three columns.)
                                                                                        Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this
                                                                             total also on the Summary of Schedules.
                                                                                        Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                            AMOUNT




                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                         ORCOMMUNITY




                                                                                                                                                                                                   CONTINGENT
                                                                                                                                                                 DATE CLAIM WAS INCURRED,                                                      OF
                                                                                                                            CODEBTOR




                                                                                                                                                                                                                               DISPUTED
                                                                                           CREDITOR’S NAME,                                                                                                                                  CLAIM
                                                                                           MAILING ADDRESS                                                          NATURE OF LIEN, AND                                                                      UNSECURED
                                                                                                                                                                     DESCRIPTION AND                                                        WITHOUT           PORTION,
                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                    VALUE OF PROPERTY                                                      DEDUCTING           IF ANY
                                                                                        AND ACCOUNT NUMBER                                                                                                                                  VALUE OF
                                                                                          (See instructions above.)                                                   SUBJECT TO LIEN
                                                                                                                                                                                                                                          COLLATERAL

                                                                             ACCOUNT NO.
                                                                                              9080031                                                         Lien: Car Loan
                                                                             Grayson National Bank                                                            Security: 2001 Ford Windstar
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                                                                             P.O. Box 186                                                                                                                                                     735.81             0.00
                                                                             Independence, VA 24348

                                                                                                                                                               VALUE $                5,980.00
                                                                             ACCOUNT NO.




                                                                                                                                                               VALUE $
                                                                             ACCOUNT NO.




                                                                                                                                                              VALUE $
                                                                             ACCOUNT NO.




                                                                                                                                                               VALUE $

                                                                                                                                                                                                  Subtotal     $       735.81
                                                                              _______continuation
                                                                                0                 sheets attached                                                                        (Total of this page)
                                                                                                                                                                                                      Total    $       735.81
                                                                                                                                                                                      (Use only on last page)
                                                                                                                                                                                      (Report total also on Summary of Schedules)
                                                                                             Case 06-70512             Doc 1        Filed 05/25/06 Entered 05/25/06 09:13:43                               Desc Main
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                                                                                         Valerie Jill Barrett
                                                                                    In re________________________________________________________________,                        Case No.______________________________
                                                                                                            Debtor                                                                              (if known)



                                                                                          SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

                                                                                         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                   unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                   address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                   property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                   the subsection of the Bankruptcy Code described below which assigns the priority, such as “Sec. 507(a)(4).”

                                                                                          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                   the debtor chooses to do so. If a minor child is a creditor, indicate that by stating “a minor child.” Do not include the name or address of a
                                                                                   minor child in this schedule. See 11 U.S.C. § 112; Fed.R.Bankr.P. 1007(m).

                                                                                           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                   entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                   both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                   Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                   in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                   more than one of these three columns.)

                                                                                           Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. On the last sheet of this Schedule E, report the
                                                                                   total of all claims entitled to priority under § 507(a)(1) and § 507(a)(8) in the box labeled “Total of Claims Entitled to Priority under
                                                                                   §§ 507(a)(1) and (a)(8)” and report separately the total of all other claims in the box labeled “Total of ALL Claims Entitled to Priority.” Report
                                                                                   these totals also on the Summary of Schedules.


                                                                                          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
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                                                                                   TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


                                                                                           Domestic Support Obligations

                                                                                        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                 or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                 11 U.S.C. § 507(a)(1).


                                                                                           Extensions of credit in an involuntary case

                                                                                       Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                 appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2).

                                                                                           Wages, salaries, and commissions

                                                                                           Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                   independent sales representatives up to $4,925* per person earned within 90 days immediately preceding the filing of the original petition, or the
                                                                                   cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(3).

                                                                                           Contributions to employee benefit plans

                                                                                                Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                        cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                                            Case 06-70512              Doc 1       Filed 05/25/06 Entered 05/25/06 09:13:43                              Desc Main
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                                                                             (10/05)




                                                                                            Valerie Jill Barrett
                                                                                    In re________________________________________________________________,                      Case No.______________________________
                                                                                                            Debtor                                                                            (if known)




                                                                                          Certain farmers and fishermen
                                                                                        Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(5).


                                                                                          Deposits by individuals
                                                                                     Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                                  were not delivered or provided. 11 U.S.C. § 507(a)(6).

                                                                                          Taxes and Certain Other Debts Owed to Governmental Units

                                                                                        Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



                                                                                          Commitments to Maintain the Capital of an Insured Depository Institution

                                                                                     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                  Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                  U.S.C. § 507 (a)(9).
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                                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                 alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                                 alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).



                                                                                   * Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                   adjustment.




                                                                                                                                        0 continuation sheets attached
                                                                                                                                       ____
                                                                                            Case 06-70512                 Doc 1                      Filed 05/25/06 Entered 05/25/06 09:13:43                                                           Desc Main
                                                                                                                                                      Document     Page 13 of 45
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                                                                                       Valerie Jill Barrett
                                                                               In re __________________________________________,                                                                      Case No. _________________________________
                                                                                                             Debtor                                                                                                                               (If known)

                                                                                   SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                          State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                             against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                             useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating "a minor child" and do
                                                                             not disclose the child's name. See 11 U.S.C. § 112; Fed. R. Bankr. Proc. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on
                                                                             this page, use the continuation sheet provided.
                                                                                        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                             appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                             community maybe liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                             "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                     Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                             Summary of Schedules.
                                                                                        Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                             HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                               ORCOMMUNITY




                                                                                                                                                                                                                      CONTINGENT
                                                                                                                                  CODEBTOR




                                                                                                                                                                         DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                  DISPUTED
                                                                                          CREDITOR’S NAME,                                                                                                                                                       AMOUNT
                                                                                          MAILING ADDRESS                                                                  CONSIDERATION FOR CLAIM.
                                                                                                                                                                         IF CLAIM IS SUBJECT TO SETOFF,                                                            OF
                                                                                        INCLUDING ZIP CODE,                                                                                                                                                       CLAIM
                                                                                       AND ACCOUNT NUMBER                                                                           SO STATE.
                                                                                         (See instructions above.)

                                                                              ACCOUNT NO.        518445001086....                                                   Incurred: December 1999
                                                                              Chase                                                                                 Consideration: Credit card debt
                                                                              P.O. Box 15919                                                                                                                                                                              231.00
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                                                                              Wilmington, DE 19850



                                                                             ACCOUNT NO.         542418017063....                                                   Incurred: September 1998
                                                                              Citibank                                                                              Garnishment Summons 1/24/06 1:00 p.m.
                                                                              P.O. Box 6241                                                                         Grayson General District Court
                                                                                                                                                                                                                                                                       11,109.24
                                                                              Sioux Falls, SD 57117



                                                                              ACCOUNT NO.        6000                                                               Incurred: August 2004
                                                                              Community Psychological Resources                                                     Consideration: Court Testimony
                                                                              249 W. York St., Suite A                                                                                                                                                                  9,100.00
                                                                              Norfolk, VA 23510



                                                                              ACCOUNT NO.
                                                                              Equidata
                                                                              P.O. Box 6610                                                                                                                                                                      Notice Only
                                                                              Newport News, VA 23606-0610




                                                                                                                                    2                                                                               Subtotal                                 $         20,440.24
                                                                                                                                 _______continuation sheets attached                                        (Total of this page)
                                                                                                                                                                                                                        Total                                $
                                                                                                                                                                                                         (Use only on last page)
                                                                                                                                                                                                           (Report total also on Summary of Schedules)
                                                                                            Case 06-70512              Doc 1                       Filed 05/25/06 Entered 05/25/06 09:13:43                                                             Desc Main
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                                                                                        Valerie Jill Barrett
                                                                                In re __________________________________________________,                                                           Case No. _________________________________
                                                                                                                  Debtor                                                                                                                            (If known)


                                                                                   SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                       (Continuation Sheet)




                                                                                                                                          HUSBAND, WIFE, JOINT
                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                                                                        CONTINGENT
                                                                                                                               CODEBTOR
                                                                                           CREDITOR’S NAME,
                                                                                                                                                                        DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                     DISPUTED
                                                                                           MAILING ADDRESS                                                                                                                                                         AMOUNT
                                                                                                                                                                          CONSIDERATION FOR CLAIM.                                                                   OF
                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                        IF CLAIM IS SUBJECT TO SETOFF,                                                              CLAIM
                                                                                        AND ACCOUNT NUMBER
                                                                                          (See instructions above.)


                                                                              ACCOUNT NO.       305055073                                                        Incurred: December 2005
                                                                              Food Lion                                                                          Consideration: Returned check due to
                                                                              P.O. Box 1549                                                                      garnishment by Citibank
                                                                                                                                                                                                                                                                         44.22
                                                                              Salisbury, NC 28145-1549



                                                                              ACCOUNT NO.                                                                        Consideration: Back Rent Due
                                                                              Gary Rhudy                                                                         Monthly Payment is $400.00
                                                                              8886 Spring Valley Road                                                                                                                                                                  2,800.00
                                                                              Fries, VA 24330
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                                                                              ACCOUNT NO.                                                                        Re: Citibank v. Valerie Jill Barrett/Grayson
                                                                              Grayson General District Court                                                     National Bank
                                                                              P.O. Box 280 New Grayson                                                                                                                                                          Notice Only
                                                                              Courthouse
                                                                              129 Davis Street
                                                                              Independence, VA 24348

                                                                              ACCOUNT NO.                                                                        Incurred: September 2002
                                                                              Hampton Roads Radiology                                                            Consideration: Medical Services
                                                                              c/o Peninsula Credit Bureau                                                                                                                                                                69.90
                                                                              Equidata
                                                                              P.O. Box 6610
                                                                              Newport News, VA 23606-0610

                                                                              ACCOUNT NO.       044377                                                           Incurred: May 2004
                                                                              Hoffheimer/Ferrebee P.C.                                                           Consideration: Legal Services
                                                                              1060 Laskin Road, Suite 12B                                                                                                                                                              3,963.71
                                                                              Virginia Beach, Virginia 23451



                                                                                         1 of _____continuation
                                                                              Sheet no. _____    2                sheets attached to Schedule of                                                                         Subtotal    $                                 6,877.83
                                                                              Creditors Holding Unsecured Nonpriority Claims                                                                                    (Total of this page)
                                                                                                                                                                                                                           Total     $
                                                                                                                                                                                (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                        (Report total also on Summary of Schedules)
                                                                                            Case 06-70512              Doc 1                       Filed 05/25/06 Entered 05/25/06 09:13:43                                                             Desc Main
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                                                                             (10/05)



                                                                                        Valerie Jill Barrett
                                                                                In re __________________________________________________,                                                           Case No. _________________________________
                                                                                                                  Debtor                                                                                                                            (If known)


                                                                                   SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                       (Continuation Sheet)




                                                                                                                                          HUSBAND, WIFE, JOINT
                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                                                                        CONTINGENT
                                                                                                                               CODEBTOR
                                                                                           CREDITOR’S NAME,
                                                                                                                                                                        DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                     DISPUTED
                                                                                           MAILING ADDRESS                                                                                                                                                         AMOUNT
                                                                                                                                                                          CONSIDERATION FOR CLAIM.                                                                   OF
                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                        IF CLAIM IS SUBJECT TO SETOFF,                                                              CLAIM
                                                                                        AND ACCOUNT NUMBER
                                                                                          (See instructions above.)


                                                                              ACCOUNT NO.       10-0001                                                          Consideration: Legal Services
                                                                              Karnes Legal Services
                                                                              2273 N. Highland, Suite A                                                                                                                                                               29,695.25
                                                                              Jackson, TN 38305-4909



                                                                              ACCOUNT NO.                                                                        Garnishment Summons: Valerie Jill Barrett
                                                                              Spotts Fain P.C.                                                                   v. Citibank
                                                                              411 E. Franklin Street, Suite 600                                                                                                                                                 Notice Only
                                                                              Richmond, VA 23219
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                                                                              ACCOUNT NO.




                                                                              ACCOUNT NO.




                                                                              ACCOUNT NO.




                                                                                         2 of _____continuation
                                                                              Sheet no. _____    2                sheets attached to Schedule of                                                                         Subtotal    $                                29,695.25
                                                                              Creditors Holding Unsecured Nonpriority Claims                                                                                    (Total of this page)
                                                                                                                                                                                                                           Total     $                                57,013.32
                                                                                                                                                                                (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                        (Report total also on Summary of Schedules)
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                          In re
                                                                               Valerie Jill Barrett                                                              Case No.
                                                                                                    Debtor                                                                                   (if known)

                                                                                 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                 Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                 State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease.
                                                                                 Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
                                                                                 one of the leases or contracts, indicate that by stating “a minor child.” See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                                                                                 Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                               DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                  NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                 DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                    OF OTHER PARTIES TO LEASE OR CONTRACT.                                     NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                   NUMBER OF ANY GOVERNMENT CONTRACT.

                                                                             Gary Rhudy                                                                     Rental of furnished apartment
                                                                             8886 Spring Valley Road                                                        $400 per month
                                                                             Fries, VA 24330
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                                                                                              Case 06-70512              Doc 1        Filed 05/25/06 Entered 05/25/06 09:13:43                             Desc Main
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      In re                                                                       Valerie Jill Barrett                                                         Case No.
                                                                                                     Debtor                                                                               (if known)


                                                                                                                         SCHEDULE H - CODEBTORS
                                                                                 Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                             debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                             property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                             Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                             name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                             commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                             commencement of this case. If a minor child is a codebtor or a creditor, indicate that by stating “a minor child.” See 11 U.S.C. § 112;
                                                                             Fed. Bankr. P. 1007(m).

                                                                                 Check this box if debtor has no codebtors.



                                                                                            NAME AND ADDRESS OF CODEBTOR                                             NAME AND ADDRESS OF CREDITOR
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                                                                                              Case 06-70512                Doc 1         Filed 05/25/06 Entered 05/25/06 09:13:43                                     Desc Main
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                                                                             10/05



                                                                             In re        Valerie Jill Barrett
                                                                                                                                                                                        Case No.
                                                                                                        Debtor                                                                                               (if known)

                                                                                                        SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                             The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 7, 11, 12 or 13 case whether
                                                                             or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.

                                                                               Debtor’s Marital                                                              DEPENDENTS OF DEBTOR AND SPOUSE
                                                                               Status:                               RELATIONSHIP                                                                                 AGE
                                                                                     Divorced                                son                                                                                           13 years
                                                                                                                             son                                                                                           12 years
                                                                                                                             daughter                                                                                      10 years
                                                                                                                             daughter                                                                                      8 years
                                                                               Employment:                                     DEBTOR                                                                         SPOUSE
                                                                               Occupation                              Substitute/Homebound Teacher
                                                                               Name of Employer                        Grayson County Schools/Alleghany Public Schools
                                                                               How long employed                       1 year
                                                                               Address of Employer                     412 East Main St./85 PeachTree Street                                                    N.A.
                                                                                                                       Independence, VA 24348/Sparta, NC 28675

                                                                             Income: (Estimate of monthly income as of the filing of the petition)                                                          DEBTOR                    SPOUSE
                                                                             1. Current monthly gross wages, salary, and commissions
                                                                                                                                                                                                        $ _____________
                                                                                                                                                                                                               222.68           $ _____________
                                                                                                                                                                                                                                          N.A.
                                                                                   (pro rate if not paid monthly.)
                                                                             2. Estimated monthly overtime                                                                                              $ _____________
                                                                                                                                                                                                                  0.00          $ _____________
                                                                                                                                                                                                                                          N.A.
                                                                             3. SUBTOTAL                                                                                                                 $ _____________
                                                                                                                                                                                                                222.68          $ _____________
                                                                                                                                                                                                                                          N.A.
                                                                             4. LESS PAYROLL DEDUCTIONS
                                                                                                                                                                                                                 17.04
                                                                                                                                                                                                         $ _____________                  N.A.
                                                                                                                                                                                                                                 $ _____________
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                                                                                     a.   Payroll taxes and social security
                                                                                     b.   Insurance                                                                                                               0.00
                                                                                                                                                                                                         $ _____________                  N.A.
                                                                                                                                                                                                                                 $ _____________
                                                                                     c.   Union Dues                                                                                                              0.00
                                                                                                                                                                                                         $ _____________                  N.A.
                                                                                                                                                                                                                                 $ _____________
                                                                                     d.   Other (Specify:___________________________________________________________)                                             0.00
                                                                                                                                                                                                         $ _____________                  N.A.
                                                                                                                                                                                                                                 $ _____________

                                                                             5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                           $ _____________
                                                                                                                                                                                                                 17.04           $ _____________
                                                                                                                                                                                                                                          N.A.
                                                                             6.. TOTAL NET MONTHLY TAKE HOME PAY                                                                                                 205.64
                                                                                                                                                                                                          $ _____________                 N.A.
                                                                                                                                                                                                                                 $ _____________


                                                                             7. Regular income from operation of business or profession or farm                                                                   0.00
                                                                                                                                                                                                         $ _____________                  N.A.
                                                                                                                                                                                                                                 $ _____________
                                                                                (Attach detailed statement)
                                                                             8. Income from real property                                                                                                         0.00
                                                                                                                                                                                                         $ _____________                  N.A.
                                                                                                                                                                                                                                 $ _____________
                                                                             9. Interest and dividends                                                                                                   $ _____________
                                                                                                                                                                                                                  0.00           $ _____________
                                                                                                                                                                                                                                          N.A.
                                                                             10. Alimony, maintenance or support payments payable to the debtor for the
                                                                                                                                                                                                         $ _____________
                                                                                                                                                                                                                  0.00           $ _____________
                                                                                                                                                                                                                                          N.A.
                                                                                 debtor’s use or that of dependents listed above.
                                                                             11. Social security or other government assistance
                                                                                                                                                                                                         $ _____________
                                                                                                                                                                                                                660.00           $ _____________
                                                                                                                                                                                                                                          N.A.
                                                                                 ( Specify) Food Stamps                                                                                                  $ _____________         $ _____________
                                                                                                                                                                                                                  0.00                    N.A.
                                                                             12. Pension or retirement income
                                                                             13. Other monthly incomePublic Assistance (TANF)                                                                                   443.00
                                                                                                                                                                                                         $ _____________                  N.A.
                                                                                                                                                                                                                                 $ _____________
                                                                                 (Specify) Gifts from church/parents                                                                                            200.00
                                                                                                                                                                                                         $ _____________                  N.A.
                                                                                                                                                                                                                                 $ _____________
                                                                             14. SUBTOTAL OF INCOME REPORTED ONLINES 7 THROUGH 13                                                                             1,303.00
                                                                                                                                                                                                         $ _____________                  N.A.
                                                                                                                                                                                                                                 $ _____________
                                                                             15. TOTAL MONTHLY INCOME (Add amounts shown on Lines 6 through 14.)                                                              1,508.64
                                                                                                                                                                                                         $ _____________                  N.A.
                                                                                                                                                                                                                                 $ _____________

                                                                             16. TOTAL COMBINED MONTHLY INCOME                               $ _____________
                                                                                                                                                   1,508.64                                                (Report also on Summary of Schedules)
                                                                             17. Describe any increase [or decrease] in income anticipated to occur within the year following the filing of this document:

                                                                                        No child support since August 2005, never consistant. Child Support/spousal arrears in excess of $45,000 & growing, appeal bonds
                                                                                        ($27,000) may be received someday depending on disposition of ex-husband's multiple appeals. One payment 5/6/06 $1,048.78
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                                                                             10/03



                                                                                         Valerie Jill Barrett
                                                                               In re________________________________________________ ,                     Case No.____________________________________________
                                                                                                  Debtor                                                                     (if known)

                                                                                                    SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                                                                         (Continuation Page)

                                                                                                                                            DEPENDENTS OF DEBTOR AND SPOUSE

                                                                                                                RELATIONSHIP                                                      AGE
                                                                                                                   son                                                                  7 years
                                                                                                                   daughter                                                             5 years
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                                                                                               Case 06-70512              Doc 1       Filed 05/25/06 Entered 05/25/06 09:13:43                             Desc Main
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                                                                             In re      Valerie Jill Barrett                                                            Case No.
                                                                                                       Debtor


                                                                                        SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                    Complete this schedule by estimating the average monthly expenses of the debtor and the debtor’s family. Pro rate any payments made
                                                                                bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

                                                                                     Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures
                                                                                     labeled “Spouse.”


                                                                             1. Rent or home mortgage payment (include lot rented for mobile home)                                                                     400.00
                                                                                                                                                                                                               $ _____________
                                                                                        a. Are real estate taxes included?                Yes ________ No ________
                                                                                        b. Is property insurance included?                Yes ________ No ________
                                                                             2. Utilities: a. Electricity and heating fuel                                                                                             200.00
                                                                                                                                                                                                               $ ______________
                                                                                            b. Water and sewer                                                                                                           0.00
                                                                                                                                                                                                               $ ______________
                                                                                            c. Telephone                                                                                                                75.00
                                                                                                                                                                                                               $ ______________
                                                                                                      Cable TV
                                                                                            d. Other ___________________________________________________________________                                                50.00
                                                                                                                                                                                                               $ ______________
                                                                             3. Home maintenance (repairs and upkeep)                                                                                                    0.00
                                                                                                                                                                                                               $ ______________
                                                                             4. Food                                                                                                                                   750.00
                                                                                                                                                                                                               $ ______________
                                                                             5. Clothing                                                                                                                               200.00
                                                                                                                                                                                                               $ ______________
                                                                             6. Laundry and dry cleaning                                                                                                                50.00
                                                                                                                                                                                                               $ ______________
                                                                             7. Medical and dental expenses                                                                                                             10.00
                                                                                                                                                                                                               $ ______________
                                                                             8. Transportation (not including car payments)                                                                                            200.00
                                                                                                                                                                                                               $ ______________
                                                                             9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                        28.00
                                                                                                                                                                                                               $ ______________
                                                                             10.Charitable contributions                                                                                                                32.00
                                                                                                                                                                                                               $ ______________
                                                                             11.Insurance (not deducted from wages or included in home mortgage payments)
                                                                                        a. Homeowner’s or renter’s                                                                                                       0.00
                                                                                                                                                                                                               $ ______________
                                                                                        b. Life                                                                                                                         38.00
                                                                                                                                                                                                               $ ______________
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                                                                                        c. Health                                                                                                                       50.00
                                                                                                                                                                                                               $ ______________
                                                                                        d.Auto                                                                                                                           0.00
                                                                                                                                                                                                               $ ______________
                                                                                        e. Other                                                                                                                         0.00
                                                                                                                                                                                                               $ ______________
                                                                             12.Taxes (not deducted from wages or included in home mortgage payments)
                                                                             (Specify)                                                                                                                                   0.00
                                                                                                                                                                                                               $ ______________
                                                                             13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                                                                                        a. Auto                                                                                                                         246.50
                                                                                                                                                                                                               $______________
                                                                                        b. Other                                                                                                                          0.00
                                                                                                                                                                                                               $ ______________
                                                                                        c. Other                                                                                                                          0.00
                                                                                                                                                                                                               $ ______________
                                                                             14. Alimony, maintenance, and support paid to others                                                                                         0.00
                                                                                                                                                                                                               $ ______________
                                                                             15. Payments for support of additional dependents not living at your home                                                                    0.00
                                                                                                                                                                                                               $ ______________
                                                                             16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                             0.00
                                                                                                                                                                                                               $ ______________
                                                                             17. Other                babysitting                                                                                                        50.00
                                                                                                                                                                                                               $______________
                                                                             18. TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                                  $______________
                                                                                                                                                                                                                      2,379.50
                                                                             19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of this
                                                                             document: If bond money r'cvd, then it will go to DCSE or DSS. Nor court date. Ex-H disbarred 4/21/06

                                                                             20. STATEMENT OF MONTHLY NET INCOME
                                                                                     a. Total projected monthly income                                                                                                1,508.64
                                                                                                                                                                                                               $ ______________
                                                                                     b. Total projected monthly expenses                                                                                              2,379.50
                                                                                                                                                                                                               $ ______________
                                                                                     c. Monthly net income (a. minus b.)                                                                                               -870.86
                                                                                                                                                                                                               $ ______________


                                                                               [Chapter 12 and 13 Debtors Only: State amount and whether plan payments are to be made bi-weekly, monthly, annually, or at some other regular
                                                                               interval.]
                                                                                                                             N.A.
                                                                               21. Total amount to be paid into plan $_______________each      N.A.
                                                                                                                                          ______________________(interval).
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                                                                                   Form 6-Summary
                                                                                   (10/05)




                                                                                                                        United States Bankruptcy Court
                                                                                                                                Western District of Virginia
                                                                                               Valerie Jill Barrett
                                                                                  In re                                                                                        Case No.
                                                                                                                                  Debtor
                                                                                                                                                                               Chapter        7

                                                                                                                                 SUMMARY OF SCHEDULES
                                                                             Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                             I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                             claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                             Summary of Certain Liabilities.”

                                                                                                                                      AMOUNTS SCHEDULED
                                                                                                                          ATTACHED
                                                                               NAME OF SCHEDULE                            (YES/NO)         NO. OF SHEETS             ASSETS               LIABILITIES            OTHER

                                                                               A – Real Property
                                                                                                                           YES                      1            $           0.00

                                                                               B – Personal Property
                                                                                                                           YES                      3            $     56,660.25

                                                                               C – Property Claimed
                                                                                   as exempt                               YES                      1
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                                                                               D – Creditors Holding
                                                                                  Secured Claims                           YES                      1                                  $          735.81

                                                                               E - Creditors Holding Unsecured
                                                                                   Priority Claims                         YES                      2                                  $            0.00

                                                                               F - Creditors Holding Unsecured
                                                                                   Nonpriority Claims                      YES                      3                                  $      57,013.32

                                                                               G - Executory Contracts and
                                                                                   Unexpired Leases                        YES                      1

                                                                               H - Codebtors
                                                                                                                           YES                      1

                                                                               I - Current Income of
                                                                                   Individual Debtor(s)                    YES                      2                                                        $     1,508.64

                                                                               J - Current Expenditures of Individual
                                                                                   Debtors(s)                              YES                      1                                                        $     2,379.50


                                                                                                                 TOTAL                              16           $     56,660.25       $      57,749.13
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                                                                             Form 6-Summ2
                                                                             (10/05)




                                                                                                              United States Bankruptcy Court
                                                                                                                           Western District of Virginia

                                                                                      In re      Valerie Jill Barrett                                                               Case No.
                                                                                                                                 Debtor
                                                                                                                                                                                    Chapter    7



                                                                                                STATISTICAL SUMMARY OF CERTAIN LIABILITIES
                                                                                                                (28 U.S.C. § 159)
                                                                                                            [Individual Debtors Only]
                                                                                   Summarize the following types of liabilities, as reported in the Schedules, and total them.



                                                                                                                Type of Liability                                         Amount

                                                                                   Domestic Support Obligations (from Schedule E)                                    $           0.00
                                                                                   Taxes and Certain Other Debts Owed to Governmental Units (from                    $
                                                                                   Schedule E)                                                                                   0.00
                                                                                   Claims for Death or Personal Injury While Debtor Was Intoxicated (from            $
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                                                                                   Schedule E)                                                                                   0.00
                                                                                   Student Loan Obligations (from Schedule F)                                        $           0.00
                                                                                   Domestic Support, Separation Agreement, and Divorce Decree
                                                                                                                                                                     $
                                                                                   Obligations Not Reported on Schedule E                                                        0.00

                                                                                   Obligations to Pension or Profit-Sharing, and Other Similar Obligations
                                                                                   (from Schedule F)
                                                                                                                                                                     $           0.00

                                                                                                                                                       TOTAL         $           0.00


                                                                                              The foregoing information is for statistical purposes only under 28 U.S.C § 159.
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                                                                                  In re      Valerie Jill Barrett                                                                                                             Case No.
                                                                                                                        Debtor                                                                                                                                   (If known)

                                                                                                                 DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                   17
                                                                                        I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of ______________________________________
                                                                                                                                                                                                  (Total shown on summary page plus 1.)
                                                                                    sheets, and that they are true and correct to the best of my knowledge, information, and belief.



                                                                                    Date   May 19, 2006                                                                                                 Signature:        /s/ Valerie Jill Barrett
                                                                                                                                                                                                                                                          Debtor:


                                                                                    Date                                                                                                                Signature:
                                                                                                                                                                                                                                       Not Applicable
                                                                                                                                                                                                                                                 (Joint Debtor, if any)

                                                                                                                                                                                                              [If joint case, both spouses must sign.]
                                                                               -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                          DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                   I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
                                                                              provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines have
                                                                             been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
                                                                                                     amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.


                                                                              Printed or Typed Name of Bankruptcy Petition Preparer                                                                              Social Security No.
                                                                                                                                                                                                            (Required by 11 U.S.C. § 110.)

                                                                              If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                              who signs this document.
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                                                                              Address

                                                                              X
                                                                                                  Signature of Bankruptcy Petition Preparer                                                                                                       Date

                                                                             Names and Social Security numbers of all other individuals who prepared or assisted in preparing this documen, unless the bankruptcy petition preparer is not an individualt:



                                                                             If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                             18 U.S.C. § 156.



                                                                     -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                  I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of
                                                                             the partnership ] of the ___________________________________ [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I
                                                                             have read the foregoing summary and schedules, consisting of _______________________________________________ sheets, and that they are true and correct
                                                                             to the best of my knowledge, information, and belief.               (Total shown on summary page plus 1.)


                                                                             Date                                                                                                               Signature:


                                                                                                                                                                                                                 [Print or type name of individual signing on behalf of debtor.]
                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                     -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                            Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                             Official Form 7
                                                                                                  Case 06-70512               Doc 1        Filed 05/25/06 Entered 05/25/06 09:13:43                               Desc Main
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                                                                                                                               UNITED STATES BANKRUPTCY COURT
                                                                                                                                                Western District of Virginia

                                                                             In Re      Valerie Jill Barrett                                                                                   Case No.
                                                                                                                                                                                                                (if known)


                                                                                                                                            STATEMENT OF FINANCIAL AFFAIRS

                                                                                                           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                                the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                                information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                                filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                                provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. Do
                                                                                                not include the name or address of a minor child in this statement. Indicate payments, transfers and the like to minor children by
                                                                                                stating “a minor child.” See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                                                                                                          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                                must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
                                                                                                additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
                                                                                                case number (if known), and the number of the question.


                                                                                                                                                            DEFINITIONS

                                                                                                           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                                individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
                                                                                                the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                                the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
                                                                                                employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                                in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                                                           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                                their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5
                                                                                                percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of
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                                                                                                such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.



                                                                                                          1.   Income from employment or operation of business

                                                                                                          State the gross amount of income the debtor has received from employment, trade, or profession, or from operation
                                                                                                          ofthe debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                               None       beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                          two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                          the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                          of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                          under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                          spouses are separated and a joint petition is not filed.)

                                                                                                                  AMOUNT                                                 SOURCE
                                                                                                   2006             609.58       Alleghany County Public Schools
                                                                                                                                 Grayson County Public Schools

                                                                                                   2005           1161.15        Grayson County Public Schools

                                                                                                   2004             180.60       Radford University
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                                                                                       2.   Income other than from employment or operation of business

                                                                             None      State the amount of income received by the debtor other than from employment, trade, profession, or operation of
                                                                                       the debtor's business during the two years immediately preceding the commencement of this case. Give particulars.
                                                                                       If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter
                                                                                       13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                       joint petition is not filed.)

                                                                                        AMOUNT                                                              SOURCE

                                                                                2006               1772.00             TANF (welfare payment)

                                                                                2005              15386.76            Alimony $1500.00
                                                                                                                      TANF (welfare payments) $1842.00
                                                                                                                      Child Support $12,044.76



                                                                                       3. Payments to creditors
                                                                             None

                                                                                       Complete a. or b., as appropriate, and c.
                                                                                       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
                                                                                       goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
                                                                                       this case if the aggregate value of all property that constitutes or is affected by such transfer is not less than $600.
                                                                                       Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation
                                                                                       or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                                       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                                                                                       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                             NAME AND ADDRESS OF CREDITOR                                 DATES OF                            AMOUNT               AMOUNT STILL
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                                                                                                                                          PAYMENTS                              PAID                  OWING




                                                                             None      b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
                                                                                       within 90 days immediately preceding the commencement of the case if the aggregate value of all property that
                                                                                       constitutes or is affected by such transfer is not less than $5,000. (Married debtors filing under chapter 12 or chapter
                                                                                       13 must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless
                                                                                       the spouses are separated and a joint petition is not filed.)


                                                                             NAME AND ADDRESS OF CREDITOR                                 DATES OF                            AMOUNT               AMOUNT STILL
                                                                              AND RELATIONSHIP TO DEBTOR                                  PAYMENTS                              PAID                  OWING
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                                                                             None

                                                                                      c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or
                                                                                      for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                      include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                      and a joint petition is not filed.)


                                                                              NAME AND ADDRESS OF CREDITOR                              DATES OF                      AMOUNT PAID             AMOUNT STILL
                                                                               AND RELATIONSHIP TO DEBTOR                               PAYMENTS                                                 OWING


                                                                                      4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                             None     a.    List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                                                                                      preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                      information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                      and a joint petition is not filed.)


                                                                              CAPTION OF SUIT                NATURE OF PROCEEDING                           COURT OR                               STATUS OR
                                                                             AND CASE NUMBER                                                           AGENCY AND LOCATION                         DISPOSITION

                                                                             Citibank (South               Garnishment Summons                            Grayson General District             Hearing Date
                                                                             Dakota) N.A.                                                                 Court                                1/24/06
                                                                             v.                                                                           P.O. Box 280 New Grayson             Request for Hearing
                                                                             Valerie J. Barrett                                                           Courthouse                           - Garnishment
                                                                                                                                                          129 Davis Street                     Exemption Claim
                                                                                                                                                          Independence, VA                     04-441 12/16/05
                                                                                                                                                          24348-0280
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                                                                             None     b.     Describe all property that has been attached, garnished or seized under any legal or equitable process within
                                                                                      one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
                                                                                      13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
                                                                                      unless the spouses are separated and a joint petition is not filed.)


                                                                                NAME AND ADDRESS OF                                        DATE OF                                      DESCRIPTION AND
                                                                              PERSON FOR WHOSE BENEFIT                                     SEIZURE                                     VALUE OF PROPERTY
                                                                                PROPERTY WAS SEIZED

                                                                             Citibank                                                   12/1/05                               Nothing - amount in account
                                                                             411 E. Franklin Street                                                                           still covered under
                                                                             Richmond, VA 23219                                                                               Homestead Deed filed
                                                                                                                                                                              December 16, 2005 by
                                                                                                                                                                              Southwest Virginia
                                                                                                                                                                              Legal Aid Society and
                                                                                                                                                                              recorded in Clerk's Office of
                                                                                                                                                                              Grayson County
                                                                                                                                                                              in Book 453, page 369
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                                                                                     5.   Repossessions, foreclosures and returns

                                                                             None    List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
                                                                                     of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
                                                                                     (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
                                                                                     both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                 NAME AND                                 DATE OF REPOSESSION,                                            DESCRIPTION AND
                                                                                ADDRESS OF                                 FORECLOSURE SALE,                                             VALUE OF PROPERTY
                                                                             CREDITOR OR SELLER                           TRANSFER OR RETURN


                                                                                     6. Assignments and Receiverships

                                                                             None    a.     Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding
                                                                                     the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any
                                                                                     assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                     joint petition is not filed.)


                                                                                     NAME AND                                    DATE OF ASSIGNMENT                                   TERMS OF
                                                                                    ADDRESS OF                                                                                       ASSIGNMENT
                                                                                      ASSIGNEE                                                                                      OR SETTLEMENT


                                                                             None    b.     List all property which has been in the hands of a custodian, receiver, or court-appointed official within one
                                                                                     year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                                                                                     must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                                                                                     the spouses are separated and a joint petition is not filed.)
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                                                                                     NAME AND                          NAME AND LOCATION                              DATE OF                DESCRIPTION AND
                                                                                    ADDRESS OF                         OF COURT CASE TITLE                             ORDER                VALUE OF PROPERTY
                                                                                    CUSTODIAN                               & NUMBER



                                                                                     7.   Gifts

                                                                             None    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case,
                                                                                     except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
                                                                                     and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
                                                                                     chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
                                                                                     the spouses are separated and a joint petition is not filed.)


                                                                                    NAME AND                            RELATIONSHIP                           DATE OF                   DESCRIPTION AND
                                                                                   ADDRESS OF                         TO DEBTOR, IF ANY                          GIFT                     VALUE OF GIFT
                                                                             PERSON OR ORGANIZATION

                                                                             Compassion International                                                  Monthly                        $32/month to support
                                                                             12290 Voyager Parkway                                                                                    Ethiopian Child
                                                                             Colorado Springs, CO 80921
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                                                                                      8.   Losses

                                                                             None     List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
                                                                                      of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                      include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                      joint petition is not filed.)


                                                                                DESCRIPTION                              DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                                  DATE OF
                                                                                 AND VALUE                                  WAS COVERED IN WHOLE OR IN PART BY                                        LOSS
                                                                                OF PROPERTY                                     INSURANCE, GIVE PARTICULARS


                                                                                      9.   Payments related to debt counseling or bankruptcy

                                                                             None     List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
                                                                                      consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
                                                                                      within one year immediately preceding the commencement of this case.


                                                                                       NAME AND ADDRESS                           DATE OF PAYMENT,                                AMOUNT OF MONEY OR
                                                                                           OF PAYEE                               NAME OF PAYOR IF                                  DESCRIPTION AND
                                                                                                                                 OTHER THAN DEBTOR                                 VALUE OF PROPERTY

                                                                             Scot S. Farthing                                                                                $975.00 plus costs
                                                                             Scot S. Farthing, Attorney At Law,            Payor: Father $900.00
                                                                             PC                                            Self $374.00
                                                                             P.O. Box 1315
                                                                             Wytheville, VA 24382
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                                                                             Greenpath Debt Solutions                      April 3, 2006                                     $95.00
                                                                             38505 Country Club Drive, Suite               Payor: Father
                                                                             210
                                                                             Farmington Hills, MI 48331-3429


                                                                                      10. Other transfers

                                                                             None     a.      List all other property, other than property transferred in the ordinary course of the business or financial affairs
                                                                                      of the debtor, transferred either absolutely or as security within two years immediately preceding the commencement
                                                                                      of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
                                                                                      whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                NAME AND ADDRESS OF TRANSFEREE,                                      DATE                              DESCRIBE PROPERTY
                                                                                    RELATIONSHIP TO DEBTOR                                                                              TRANSFERRED AND
                                                                                                                                                                                         VALUE RECEIVED
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                                                                                       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
                                                                                       to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                             None

                                                                                    NAME OF TRUST OR OTHER DEVICE                               DATE(S) OF                      AMOUNT OF MONEY OR
                                                                                                                                               TRANSFER(S)                        DESCRIPTION AND
                                                                                                                                                                               VALUE OF PROPERTY OR
                                                                                                                                                                            DEBTOR'S INTEREST IN PROPERTY


                                                                                       11. Closed financial accounts

                                                                             None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
                                                                                       closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case.
                                                                                       Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share
                                                                                       accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
                                                                                       institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
                                                                                       instruments held by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                       and a joint petition is not filed.)


                                                                                      NAME AND                            TYPE OF ACCOUNT, LAST FOUR                                        AMOUNT AND
                                                                                     ADDRESS OF                           DIGITS OF ACCOUNT NUMBER,                                         DATE OF SALE
                                                                                     INSTITUTION                         AND AMOUNT OF FINAL BALANCE                                         OR CLOSING

                                                                               Grayson National Bank                   Checking - 3100591636                                     February 2, 2006
                                                                               P.O. Box 186                             Closing Balance: -45.58
                                                                               Independence, VA 24348                  -45.58


                                                                                       12. Safe deposit boxes
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                                                                             None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
                                                                                       within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                       chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
                                                                                       the spouses are separated and a joint petition is not filed.)


                                                                                         NAME AND                       NAMES AND ADDRESSES OF                   DESCRIPTION OF               DATE OF
                                                                                      ADDRESS OF BANK                  THOSE WITH ACCESS TO BOX                    CONTENTS                 TRANSFER OR
                                                                                    OR OTHER DEPOSITORY                     OR DEPOSITORY                                                 SURRENDER, IF ANY


                                                                                       13. Setoffs

                                                                             None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
                                                                                       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                       information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                       and a joint petition is not filed.)


                                                                                    NAME AND ADDRESS OF CREDITOR                                   DATE                                  AMOUNT
                                                                                                                                                    OF                                      OF
                                                                                                                                                  SETOFF                                  SETOFF
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                                                                                     14. Property held for another person

                                                                             None    List all property owned by another person that the debtor holds or controls.


                                                                                       NAME AND                              DESCRIPTION AND                             LOCATION OF PROPERTY
                                                                                    ADDRESS OF OWNER                        VALUE OF PROPERTY


                                                                                     15. Prior address of debtor
                                                                             None
                                                                                     If the debtor has moved within the three years immediately preceding the commencement of this case, list all
                                                                                     premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
                                                                                     joint petition is filed, report also any separate address of either spouse.


                                                                                    ADDRESS                                          NAME USED                                   DATES OF OCCUPANCY



                                                                                     16. Spouses and Former Spouses
                                                                             None
                                                                                     If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                     Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within
                                                                                     eight years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
                                                                                     any former spouse who resides or resided with the debtor in the community property state.


                                                                                                  NAME


                                                                                     17. Environmental Sites
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                                                                                     For the purpose of this question, the following definitions apply:

                                                                                     "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                     releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
                                                                                     other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                     wastes, or material.

                                                                                               "Site" means any location, facility, or property as defined under any Environmental Law, whether or not
                                                                                               presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                               "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
                                                                                               hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                             None
                                                                                     a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit
                                                                                     that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental
                                                                                     unit, the date of the notice, and, if known, the Environmental Law:


                                                                                     SITE NAME                        NAME AND ADDRESS                          DATE OF                ENVIRONMENTAL
                                                                                    AND ADDRESS                     OF GOVERNMENTAL UNIT                        NOTICE                      LAW
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                                                                                     b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
                                                                                     Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                             None

                                                                                     SITE NAME                        NAME AND ADDRESS                           DATE OF                  ENVIRONMENTAL
                                                                                    AND ADDRESS                     OF GOVERNMENTAL UNIT                         NOTICE                        LAW


                                                                                     c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
                                                                                     respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a
                                                                             None    party to the proceeding, and the docket number.


                                                                                      NAME AND ADDRESS                                DOCKET NUMBER                              STATUS OR DISPOSITION
                                                                                    OF GOVERNMENTAL UNIT


                                                                                     18. Nature, location and name of business

                                                                             None    a.        If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                     businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or
                                                                                     managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a trade, profession, or
                                                                                     other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
                                                                                     which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
                                                                                     preceding the commencement of this case.

                                                                                     If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                     beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                     voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                     If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                     beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
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                                                                                     voting or equity securities within the six years immediately preceding the commencement of this case.

                                                                              NAME                     TAXPAYER                      ADDRESS                 NATURE OF BUSINESS BEGINNING AND
                                                                                                      I.D. NO. (EIN)                                                            ENDING DATES




                                                                                     b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
                                                                                     U.S.C. § 101.
                                                                             None

                                                                                     NAME                                                                                ADDRESS




                                                                                                 [Questions 19 - 25 are not applicable to this case]
                                                                                                                       *    *    *    *   *    *
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                                                                                         [If completed by an individual or individual and spouse]

                                                                                         I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                                         thereto and that they are true and correct.
                                                                                         May 19, 2006                                                                              /s/ Valerie Jill Barrett
                                                                             Date                                                                        Signature
                                                                                                                                                         of Debtor                 VALERIE JILL BARRETT




                                                                             -------------------------------------------------------------------------
                                                                                                   CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                  I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                             compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b); (3) if
                                                                             rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition preparers, I
                                                                             have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required
                                                                             in that section.




                                                                             Printed or Typed Name of Bankruptcy Petition Preparer                                                     Social Security No.
                                                                                                                                                                                       (Required by 11 U.S.C. § 110(c).)



                                                                             Address
                                                                             Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:

                                                                             If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.
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                                                                             X
                                                                             Signature of Bankruptcy Petition Preparer
                                                                             - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -Date
                                                                                                                                                                             -------------------------
                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both.
                                                                             11 U.S.C. § 110; 18 U.S.C. §156.




                                                                                                                                                  0 continuation sheets attached
                                                                                                                                                _____


                                                                                                Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571
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                                                                             Form B8 (Official Form 8)
                                                                             (10/05)
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                                                                                                                                UNITED STATES BANKRUPTCY COURT
                                                                                                                                      Western District of Virginia



                                                                             In re    Valerie Jill Barrett                                          ,                Case No.
                                                                                                                               Debtor                                                        Chapter 7

                                                                                                               CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

                                                                                     [Check each applicable box]
                                                                                            I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.
                                                                                            I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.
                                                                                            I intend to do the following with respect to the property of the estate which secures those debts or is subject to a lease:


                                                                                                                                                                                                         Property will     Debt will be
                                                                             Description of Secured Property           Creditor's Name                   Property will be       Property                 be redeemed       Reaffirmed
                                                                                                                                                         Surrendered            is claimed               pursuant to       pursuant to
                                                                                                                                                                                as exempt                11 U.S.C. § 722   11 U.S.C. § 524(c)

                                                                             2001 Ford Windstar                        Grayson National Bank               Retain




                                                                                                                                                         Lease will be
                                                                             Description of Leased Property            Lessor's Name                     assumed pursuant
                                                                                                                                                         to 11 U.S.C.
                                                                                                                                                         § 362(h)(1)(A)

                                                                             NONE
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                                                                             Date:      May 19, 2006                                      /s/ Valerie Jill Barrett
                                                                                                                                          Signature of Debtor               VALERIE JILL BARRETT

                                                                             -------------------------------------------------------------------------
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                                                                                                    CERTIFICATION OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
                                                                             have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b); (3) if rules or guidelines have
                                                                             been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the
                                                                             maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required in that section.


                                                                             Printed or Typed Name of Bankruptcy Petition Preparer                                    Social Security No. (Required by 11 U.S.C. § 110(c).)
                                                                             If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal
                                                                             responsible person or partner who signs this document.



                                                                             Address
                                                                             X
                                                                             Signature of Bankruptcy Petition Preparer                                                                  Date

                                                                             Names and Social Security Numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition
                                                                             preparer is not an individual:

                                                                             If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy
                                                                             Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. §156.
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                                                                                                           UNITED STATES BANKRUPTCY COURT
                                                                                                                       Western District of Virginia
                                                                                      NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                                                                                    OF THE BANKRUPTCY CODE
                                                                                               In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the
                                                                                      services available from credit counseling services; (2) Describes briefly the purposes, benefits and
                                                                                      costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about
                                                                                      bankruptcy crimes and notifies you that the Attorney General may examine all information you supply
                                                                                      in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not
                                                                                      easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and
                                                                                      responsibilities should you decide to file a petition. Court employees cannot give you legal advice.
                                                                             1. Services Available from Credit Counseling Agencies
                                                                                     With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
                                                                             bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
                                                                             credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
                                                                             days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings
                                                                             conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency
                                                                             approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you
                                                                             may consult of the approved budget and credit counseling agencies.

                                                                                     In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
                                                                             management instructional course before he or she can receive a discharge. The clerk also has a list of approved
                                                                             financial management instructional courses.
                                                                             2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
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                                                                                      Chapter 7: Liquidation ($220 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $274)
                                                                                      1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing
                                                                             debts. Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether
                                                                             the case should be permitted to proceed under chapter 7. If your income is greater than the median income for your
                                                                             state of residence and family size, in some cases, creditors have the right to file a motion requesting that the court
                                                                             dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
                                                                                      2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may
                                                                             have the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay
                                                                             your creditors.
                                                                                      3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
                                                                             found to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your
                                                                             discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                                      4. Even if you receive a general discharge, some particular debts are not discharged under the law.
                                                                             Therefore, you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable
                                                                             taxes; domestic support and property settlement obligations; most fines, penalties, forfeitures, and criminal
                                                                             restitution obligations; certain debts which are not properly listed in your bankruptcy papers; and debts for death
                                                                             or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or
                                                                             drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a
                                                                             willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.


                                                                                     Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($150 filing fee,
                                                                             $39 administrative fee: Total fee $189)
                                                                                     1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
                                                                             their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
                                                                             certain dollar amounts set forth in the Bankruptcy Code.
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                                                                                      2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that
                                                                             you owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
                                                                             five years, depending upon your income and other factors. The court must approve your plan before it can take effect.
                                                                                      3. After completing the payments under your plan, your debts are generally discharged except for domestic
                                                                             support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts
                                                                             which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and
                                                                             certain long term secured obligations.

                                                                                     Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
                                                                                     Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
                                                                             provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with
                                                                             an attorney.

                                                                                     Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
                                                                                     Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
                                                                             future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
                                                                             income arises primarily from a family-owned farm or commercial fishing operation.

                                                                             3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

                                                                                      A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
                                                                             perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
                                                                             information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
                                                                             acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
                                                                             employees of the Department of Justice.

                                                                             WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding
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                                                                             your creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be
                                                                             dismissed if this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the
                                                                             Bankruptcy Rules, and the local rules of the court.



                                                                                                              Certificate of [Non-Attorney] Bankruptcy Petition Preparer
                                                                                       I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor
                                                                             this notice required by § 342(b) of the Bankruptcy Code.
                                                                             ________________________________________                                ___________________________________
                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer         Social Security number (If the bankruptcy petition
                                                                             Address:                                                                preparer is not an individual, state the Social Security
                                                                             ________________________________________                                number of the officer, principal, responsible person, or partner of
                                                                                                                                                     the bankruptcy petition preparer.) (Required
                                                                             X_______________________________________                                by 11 U.S.C. § 110.)
                                                                             Signature of Bankruptcy Petition Preparer or officer,
                                                                             principal, responsible person, or partner whose Social
                                                                             Security number is provided above.

                                                                                                                                     Certificate of the Debtor
                                                                                      I (We), the debtor(s), affirm that I (we) have received and read this notice.

                                                                             Valerie Jill Barrett
                                                                             ______________________________________________                              /s/ Valerie Jill Barrett      May 19, 2006
                                                                                                                                                       X___________________________________
                                                                             Printed Name(s) of Debtor(s)                                              Signature of Debtor        Date

                                                                             Case No. (if known) ____________________                                  X___________________________________
                                                                                                                                                       Signature of Joint Debtor (if any) Date
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                                                                                                                UNITED STATES BANKRUPTCY COURT
                                                                                                                      Western District of Virginia



                                                                             In re   Valerie Jill Barrett                           ,
                                                                                                                Debtor                              Case No.


                                                                                                                                                    Chapter    7



                                                                                                                         List of Equity Security Holders

                                                                                Holder of Security                                      Number Registered          Type of Interest
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                                                                             B203
                                                                             12/94
                                                                                                                               United States Bankruptcy Court
                                                                                                                                                   Western District of Virginia
                                                                                     In re Valerie Jill Barrett                                                                      Case No. ____________________
                                                                                                                                                                                     Chapter           7
                                                                                                                                                                                                  ____________________
                                                                                     Debtor(s)
                                                                                                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

                                                                             1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s)
                                                                                     and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
                                                                                     rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follow s:

                                                                                     For legal services, I have agreed to accept .............................                                 975.00
                                                                                                                                                                                   .... $ ______________

                                                                                     Prior to the filing of this statement I have received ..........                                              975.00
                                                                                                                                                                        ................... $ ______________

                                                                                     Balance Due ......................................                                                                0.00
                                                                                                                                                                        .................... $ ______________

                                                                             2.      The source of compensation paid to me was:

                                                                                                           Debtor                         Other (specify)
                                                                             3.      The source of compensation to be paid to me is:
                                                                                                           Debtor                         Other (specify)

                                                                             4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
                                                                             associates of my law firm.

                                                                                        I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
                                                                             of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

                                                                             5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
                                                                                      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                                      b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
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                                                                                      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;




                                                                              6.        By agreement with the debtor(s), the above-disclosed fee does not include the following services:
                                                                              Filing Fees of $299 plus costs




                                                                                                                                                                 CERTIFICATION

                                                                                              I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                           debtor(s) in the bankruptcy proceeding.


                                                                                              May 19, 2006
                                                                                           ____________________________________                                        /s/ Scot S. Farthing
                                                                                                                                                                     __________________________________________________
                                                                                                          Date                                                                           Signature of Attorney

                                                                                                                                                                        Scot S. Farthing, Attorney At Law, PC
                                                                                                                                                                      __________________________________________________
                                                                                                                                                                                         Name of law firm
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                                                                             Form B22A (Chapter 7) (10/05)
                                                                                                                                                According to the calculations required by this statement:

                                                                             In re   Valerie Jill Barrett                                                   Presumption arises
                                                                                                        Debtor(s)                                           Presumption does not arise
                                                                             Case Number:                                                      (Check the box as directed in Parts I, III, and VI of this statement.)
                                                                                                       (If known)

                                                                               STATEMENT OF CURRENT MONTHLY INCOME AND MEANS TEST CALCULATION
                                                                                                                               FOR USE IN CHAPTER 7 ONLY

                                                                             In addition to Schedule I and J, this statement must be completed by every individual Chapter 7 debtor, whether or not filing jointly,
                                                                             whose debts are primarily consumer debts. Joint debtors may complete one statement only.

                                                                                                                    Part I. EXCLUSION FOR DISABLED VETERANS
                                                                                      If you are a disabled veteran described in the Veteran s Declaration in this Part I, (1) check the box at the beginning of the
                                                                                      Veteran s Declaration, (2) check the Presumption does not arise box at the top of this statement, and (3) complete the
                                                                                      verification in Part VIII. Do not complete any of the remaining parts of this statement.
                                                                                1
                                                                                          Veteran s Declaration. By checking this box, I declare under penalty of perjury that I am a disabled veteran (as
                                                                                      defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on active duty (as
                                                                                      defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).



                                                                                       Part II. CALCULATION OF MONTHLY INCOME FOR § 707(b)(7) EXCLUSION
                                                                                      Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.

                                                                                      a.         Unmarried. Complete only Column A ( Debtor s Income ) for Lines 3-11.

                                                                                      b.     Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
                                                                                      penalty of perjury: My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I are
                                                                                      living apart other than for the purpose of evading the requirements of § 707(b)(2)(A) of the Bankruptcy Code.
                                                                                      Complete only Column A ( Debtor s Income ) for Lines 3-11.

                                                                                2     c.    Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete
                                                                                      both Column A ( Debtor s Income ) and Column B (Spouse s Income) for Lines 3-11.
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                                                                                      d.     Married, filing jointly. Complete both Column A ( Debtor s Income ) and Column B (Spouse s Income) for
                                                                                      Lines 3-11.
                                                                                      All figures must reflect average monthly income for the six calendar months prior to filing the
                                                                                                                                                                                            Column A       Column B
                                                                                      bankruptcy case, ending on the last day of the month before the filing. If you received
                                                                                                                                                                                            Debtor s       Spouse s
                                                                                      different amounts of income during these six months, you must total the amounts received
                                                                                                                                                                                             Income         Income
                                                                                      during the six months, divide this total by six, and enter the result on the appropriate line.

                                                                                3     Gross wages, salary, tips, bonuses, overtime, commissions.                                             222.68            N.A.
                                                                                                                                                                                        $              $

                                                                                      Income from the operation of a business, profession or farm. Subtract Line b from
                                                                                      Line a and enter the difference on Line 4. Do not enter a number less than zero. Do not
                                                                                      include any part of the business expenses entered on Line b as a deduction in Part
                                                                                      V.
                                                                                4                                                                                          0.00
                                                                                           a.      Gross receipts                                   $

                                                                                           b.      Ordinary and necessary business expenses         $                      0.00
                                                                                           c.      Business Income                                  Subtract Line b from Line a                0.00            N.A.
                                                                                                                                                                                        $              $
                                                                                      Rents and other real property income. Subtract Line b from Line a and enter the
                                                                                      difference on Line 5. Do not enter a number less than zero. Do not include any part of
                                                                                      the operating expenses entered on Line b as a deduction in Part V.

                                                                                        a.         Gross receipts                                   $                      0.00
                                                                               5
                                                                                        b.         Ordinary and necessary operating expenses        $                      0.00
                                                                                        c.         Rental Income                                    Subtract Line b from Line a         $      0.00    $       N.A.

                                                                                6     Interest, dividends and royalties.                                                                       0.00    $       N.A.
                                                                                                                                                                                        $

                                                                                7     Pension and retirement income.                                                                    $
                                                                                                                                                                                               0.00    $
                                                                                                                                                                                                               N.A.

                                                                                      Regular contributions to the household expenses of the debtor or the debtor s
                                                                                8     dependents, including child or spousal support. Do not include contributions from the
                                                                                      debtor s spouse if Column B is completed.                                                                0.00            N.A.
                                                                                                                                                                                        $              $
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                                                                                   Unemployment compensation. Enter the amount in Column A and, if applicable, Column
                                                                                   B. However, if you contend that unemployment compensation received by you or your
                                                                                   spouse was a benefit under the Social Security Act, do not list the amount of such
                                                                              9    compensation in Column A or B, but instead state the amount in the space below:

                                                                                     Unemployment compensation claimed to
                                                                                     be a benefit under the Social Security Act      Debtor $     0.00     Spouse $     N.A.       $           0.00 $       N.A.
                                                                                   Income from all other sources. If necessary, list additional sources on a separate page.
                                                                                   Do not include any benefits received under the Social Security Act or payments received as a
                                                                                   victim of a war crime, crime against humanity, or as a victim of international or domestic
                                                                                   terrorism. Specify source and amount.
                                                                             10
                                                                                     a.      Public Assistance (TANF)                                          $      443.00
                                                                                     b.      Gifts from church/parents                                         $      200.00
                                                                                      Total and enter on Line 10                                                                   $      643.00 $          N.A.
                                                                                   Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in
                                                                             11    Column A, and, if Column B is completed, add Lines 3 through 9 in Column B. Enter the
                                                                                   total(s).                                                                                       $      865.68 $          N.A.
                                                                                   Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
                                                                             12    Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
                                                                                   completed, enter the amount from Line 11, Column A.                                              $                     865.68



                                                                                                       Part III. APPLICATION OF § 707(b)(7) EXCLUSION

                                                                             13    Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the
                                                                                   number 12 and enter the result.                                                                               $      10,388.16
                                                                                   Applicable median family income. Enter the median family income for the applicable state and
                                                                             14    household size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of
                                                                                   the bankruptcy court.)
                                                                                                                         Virginia                                               7
                                                                                   a. Enter debtor s state of residence: _______________ b. Enter debtor s household size: __________                   90,848.00
                                                                                                                                                                                                 $
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                                                                                   Application of Section 707(b)(7).       Check the applicable box and proceed as directed.

                                                                                          The amount on Line 13 is less than or equal to the amount on Line 14. Check the Presumption does not
                                                                             15           arise box at the top of page 1 of this statement, and complete Part VIII; do not complete Parts IV, V, VI and VII.

                                                                                          The amount on Line 13 is more than the amount on Line 14.           Complete the remaining parts of this
                                                                                          statement.

                                                                                          Complete Parts IV, V, VI and VII of this statement only if required. (See Line 15).

                                                                                     Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)
                                                                             16    Enter the amount from Line 12.                                                                                $          N.A.
                                                                                   Marital adjustment. If you checked the box at Line 2.c, enter the amount of the income listed in Line
                                                                             17    11, Column B that was NOT regularly contributed to the household expenses of the debtor or the
                                                                                   debtor s dependents. If you did not check box at Line 2.c, enter zero.                                        $          N.A.
                                                                             18    Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.                              N.A.
                                                                                                                                                                                                 $



                                                                                          Part V. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)

                                                                                   Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
                                                                                   National Standards: food, clothing, household supplies, personal care, and
                                                                             19    miscellaneous. Enter Total amount from IRS National Standards for Allowable Living Expenses for
                                                                                   the applicable family size and income level. (This information is available at www.usdoj.gov/ust/ or from
                                                                                   the clerk of the bankruptcy court.)                                                                                      N.A.
                                                                                   Local Standards: housing and utilities; non-mortgage expenses Enter amount of the IRS Housing
                                                                             20A   and Utilities Standards; non-mortgage expenses for the applicable county and family size. (This
                                                                                   information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                               N.A.
                                                                                                                                                                                                 $
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                                                                                   Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the
                                                                                   amount of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size
                                                                                   (this information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on
                                                                                   Line b the total of the Average Monthly Payments for any debts secured by your home, as stated in Line
                                                                                   42; subtract Line b from Line a and enter the result in Line 20B. Do not enter an amount less than
                                                                             20B   zero.

                                                                                     a.      IRS Housing and Utilities Standards; mortgage/rental expense      $                       N.A.
                                                                                             Average Monthly Payment for any debts secured by your
                                                                                     b.
                                                                                             home, if any, as stated in Line 42                                $                       N.A.
                                                                                     c.      Net mortgage/rental expense                                       Subtract Line b from Line a          $   N.A.
                                                                                   Local Standards: housing and utilities; adjustment. If you contend that the process set out in
                                                                                   Lines 20A and 20B does not accurately compute the allowance to which you are entitled under the IRS
                                                                                   Housing and Utilities Standards, enter any additional amount to which you contend you are entitled, and
                                                                                   state the basis for your contention in the space below:
                                                                             21



                                                                                                                                                                                                    $   N.A.
                                                                                    Local Standards: transportation; vehicle operation/public transportation expense.
                                                                                    You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
                                                                                    operating a vehicle and regardless of whether you use public transportation.
                                                                                    Check the number of vehicles for which you pay the operating expenses or for which the operating
                                                                             22     expenses are included as a contribution to your household expenses in Line 8.

                                                                                       0      1    2 or more.
                                                                                   Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for
                                                                                   the applicable number of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This
                                                                                   information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                       $   N.A.
                                                                                   Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number
                                                                                   of vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease
                                                                                   expense for more than two vehicles.)
                                                                                        1         2 or more.
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                                                                                    Enter, in Line a below, the amount from IRS Transportation Standards, Ownership Costs, First Car.
                                                                                    (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). Enter in Line b the total of the
                                                                                    Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
                                                                             23     Line a and enter the result in Line 23. Do not enter an amount less than zero.
                                                                                     a.       IRS Transportation Standards, Ownership Costs, First Car         $                       N.A.
                                                                                              Average Monthly Payment for any debts secured by Vehicle
                                                                                     b.
                                                                                              1, as stated in Line 42                                          $                       N.A.
                                                                                     c.       Net ownership/lease expense for Vehicle 1                        Subtract Line b from Line a
                                                                                                                                                                                                    $   N.A.
                                                                                   Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line
                                                                                   only if you checked the 2 or more Box in Line 23.
                                                                                   Enter, in Line a below, the amount from IRS Transportation Standards, Ownership Costs, Second Car.
                                                                                   (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). Enter in Line b the total of
                                                                                   that Average Monthly Payments for any debts secured by Vehicle 2, as state in Line 42; subtract Line b
                                                                                   from Line a and enter the result in Line 24. Do not enter an amount less than zero.
                                                                             24
                                                                                      a.      IRS Transportation Standards, Ownership Costs, Second Car         $                      N.A.
                                                                                              Average Monthly Payment for any debts secured by Vehicle
                                                                                      b.
                                                                                              2, as stated in Line 42                                           $                      N.A.
                                                                                                                                                                                                    $
                                                                                      c.      Net ownership/lease expense for Vehicle 2                         Subtract Line b from Line a
                                                                                                                                                                                                        N.A.
                                                                                   Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur
                                                                             25    for all federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self em-
                                                                                                                                                                                                  $
                                                                                   ployment taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.                N.A.
                                                                                   Other Necessary Expenses: mandatory payroll deductions. Enter the total average
                                                                                   monthly payroll deductions that are required for your employment, such as mandatory retirement
                                                                             26
                                                                                   contributions, union dues, and uniform costs. Do not include discretionary amounts, such as non-
                                                                                   mandatory 401(k) contributions.                                                                                  $   N.A.
                                                                                   Other Necessary Expenses: life insurance. Enter average monthly premiums that you actually
                                                                             27    pay for term life insurance for yourself. Do not include premiums on your dependents, for whole
                                                                                                                                                                                                    $
                                                                                   life or for any other form of insurance.                                                                             N.A.
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                                                                                   Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that
                                                                             28    you are required to pay pursuant to court order, such as spousal or child support payments. Do not
                                                                                   include payments on past due support obligations included in Line 44.                                        $   N.A.
                                                                                   Other Necessary Expenses: education for employment or for a physically or
                                                                                   mentally challenged child. Enter the total monthly amount that you actually expend for education
                                                                             29    that is a condition of employment and for education that is require for a physically or mentally
                                                                                   challenged dependent child for whom no public education providing similar services is available.             $
                                                                                                                                                                                                    N.A.
                                                                             30    Other Necessary Expenses: childcare. Enter the average monthly amount that you actually
                                                                                   expend on childcare. Do not include payments made for children s education.                                  $   N.A.
                                                                                  Other Necessary Expenses: health care. Enter the average monthly amount that you actually
                                                                             31   expend on health care expenses that are not reimbursed by insurance or paid by a health savings account.
                                                                                  Do not include payments for health insurance listed in Line 34.                                          $        N.A.
                                                                                  Other Necessary Expenses: telecommunication services. Enter the average monthly
                                                                             32   expenses that you actually pay for cell phones, pagers, call waiting, caller identification, special long
                                                                                  distance, or internet services necessary for the health and welfare of you or your dependents. Do not         $
                                                                                  include any amount previously deducted.
                                                                                                                                                                                                    N.A.
                                                                             33   Total Expenses Allowed under IRS Standards.                  Enter the total of Lines 19 through 32           $   N.A.
                                                                                                  Subpart B: Additional Expense Deductions under § 707(b)
                                                                                            Note: Do not include any expenses that you have listed in Lines 19-32.

                                                                                  Health Insurance, Disability Insurance and Health Savings Account Expenses. List the
                                                                                  average monthly amounts that you actually expend in each of the following categories and enter the total.

                                                                                      a.     Health Insurance                                                   $                       N.A.
                                                                             34       b.     Disability Insurance                                               $                       N.A.
                                                                                      c.     Health Savings Account                                             $                       N.A.
                                                                                                                                                                Total: Add Lines a, b and c
                                                                                                                                                                                                $   N.A.
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                                                                                  Continued contributions to the care of household or family members. Enter the actual
                                                                             35   monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
                                                                                  elderly, chronically ill, or disabled member of your household or member of your immediate family who
                                                                                  is unable to pay for such expenses.                                                                           $   N.A.
                                                                                  Protection against family violence. Enter any average monthly expenses that you actually
                                                                             36   incurred to maintain the safety of your family under the Family Violence Prevention and Services Act or
                                                                                  other applicable federal law.                                                                                 $   N.A.
                                                                                  Home energy costs in excess of the allowance specified by the IRS Local Standards.
                                                                             37   Enter the average monthly amount by which your home energy costs exceed the allowance in the IRS
                                                                                  Local Standards for Housing and Utilities. You must provide your case trustee with documentation
                                                                                  demonstrating that the additional amount claimed is reasonable and necessary.                                 $   N.A.
                                                                                  Education expenses for dependent children less than 18. Enter the average monthly
                                                                                  expenses that you actually incur, not to exceed $125 per child, in providing elementary and secondary
                                                                             38   education for your dependent children less than 18 years of age. You must provide your case trustee
                                                                                  with documentation demonstrating that the amount claimed is reasonable and necessary and
                                                                                  not already accounted for in the IRS Standards.                                                               $   N.A.
                                                                                  Additional food and clothing expense. Enter the average monthly amount by which your food and
                                                                                  clothing expenses exceed the combined allowances for food and apparel in the IRS National Standards, not
                                                                             39   to exceed five percent of those combined allowances. (This information is available at www.usdoj.gov/ust/
                                                                                  or from the clerk of the bankruptcy court.) You must provide your case trustee with documentation
                                                                                  demonstrating that the additional amount claimed is reasonable and necessary.                             $       N.A.
                                                                             40   Continued charitable contributions. Enter the amount that you will continue to contribute in the
                                                                                  form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170 (c)(1)-(2)   $   N.A.
                                                                             41   Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40. $                     N.A.
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                                                                                                                Subpart C: Deductions for Debt Payment

                                                                                  Future payments on secured claims. For each of your debts that is secured by an interest in
                                                                                  property that you own, list the name of creditor, identify the property securing the debt, and state the
                                                                                  Average Monthly Payment. The Average Monthly Payment is the total of all amounts contractually due to
                                                                                  each Secured Creditor in the 60 months following the filing of the bankruptcy case, divided by 60. If
                                                                                  necessary, list additional entries on a separate page. Do not include items you have previously
                                                                                  deducted, such as insurance and taxes.

                                                                             42                Name of Creditor            Property Securing the Debt         Average Monthly Payment
                                                                                    a.                                                                        $
                                                                                    b.                                                                        $
                                                                                    c.                                                                        $
                                                                                                                                                              Total: Add Lines a, b and c           N.A.
                                                                                                                                                                                                $

                                                                                  Past due payments on secured claims. If any of the debts listed in Line 42 are in default, and the
                                                                                  property securing the debt is necessary for your support or the support of your dependents, you may
                                                                                  include in your deductions 1/60th of the amount that you must pay the creditor as a result of the default
                                                                                  (the cure amount ) in order to maintain possession of the property. List any such amounts in the
                                                                                  following chart and enter the total. If necessary, list additional entries on a separate page.


                                                                             43                Name of Creditor       Property Securing the Debt in Default       1/60th of the Cure Amount
                                                                                    a.                                                                         $
                                                                                    b.                                                                         $
                                                                                    c.                                                                         $
                                                                                                                                                                  Total: Add Lines a, b and c
                                                                                                                                                                                                $
                                                                                                                                                                                                    N.A.
                                                                             44   Payments on priority claims. Enter the total amount of all priority claims (including priority child
                                                                                  support and alimony claims), divided by 60.                                                          $            N.A.
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                                                                                  account.
                                                                                  Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete
                                                                                  the following chart, multiply the amount in line a by the amount in line b, and enter the resulting
                                                                                  administrative expense.

                                                                                    a.     Projected average monthly Chapter 13 plan payment.                  $                 N.A.
                                                                                    b.     Current multiplier for your district as determined under
                                                                             45
                                                                                           schedules issued by the Executive Office for United States
                                                                                           Trustees. (This information is available at www.usdoj.gov/ust/
                                                                                           or from the clerk of the bankruptcy court.)                                            N.A.
                                                                                    c.     Average monthly administrative expense of Chapter 13 case           Total: Multiply Lines a and b
                                                                                                                                                                                                $   N.A.
                                                                             46   Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.                                    $   N.A.
                                                                                                     Subpart D: Total Deductions Allowed under § 707(b)(2)
                                                                             47   Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.                   $   N.A.



                                                                                             Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION
                                                                             48   Enter the amount from Line 18 (Current monthly income for § 707(b)(2))                                        $   N.A.
                                                                             49   Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))                             $   N.A.
                                                                             50   Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the
                                                                                  result                                                                                                        $   N.A.
                                                                             51   60-month disposable income under § 707(b)(2). Multiply the amount in Line 50 by the
                                                                                  number 60 and enter the result.                                                                               $   N.A.
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                                                                                  Initial presumption determination. Check the applicable box and proceed as directed.
                                                                                     The amount on Line 51 is less than $6,000. Check the Presumption does not arise box at the top of page 1
                                                                                     of this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.

                                                                             52      The amount set forth on Line 51 is more than $10,000. Check the Presumption arises box at the top of
                                                                                     page 1 of this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.
                                                                                     The amount on Line 51 is at least $6,000, but not more than $10,000. Complete the remainder of Part
                                                                                     VI (Lines 53 through 55).

                                                                             53   Enter the amount of your total non-priority unsecured debt                                                        $      N.A.

                                                                             54   Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter
                                                                                  the result.                                                                                                       $      N.A.
                                                                                  Secondary presumption determination. Check the applicable box and proceed as directed.
                                                                                     The amount on Line 51 is less than the amount on Line 54. Check the Presumption does not arise box at
                                                                                     the top of page 1 of this statement, and complete the verification in Part VIII.
                                                                             55
                                                                                     The amount on Line 51 is equal to or greater than the amount on Line 54. Check the Presumption
                                                                                     arises box at the top of page 1 of this statement, and complete the verification in Part VIII. You may also complete
                                                                                     Part VII




                                                                                                            Part VII: ADDITIONAL EXPENSE CLAIMS
                                                                                  Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
                                                                                  health and welfare of you and your family and that you contend should be an additional deduction from your current monthly
                                                                                  income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your
                                                                                  average monthly expense for each item. Total the expenses.


                                                                                                                       Expense Description                                         Monthly Amount
                                                                             57
                                                                                     a.                                                                                        $
                                                                                     b.                                                                                        $
                                                                                     c.                                                                                        $
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                                                                                                                                           Total: Add Lines a, b and c         $         N.A.




                                                                                                                         Part VIII: VERIFICATION
                                                                                  I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                                  both debtors must sign.)

                                                                                      Date: May 19, 2006                         Signature:         /s/ Valerie Jill Barrett
                                                                                                                                                        (Debtor)
                                                                             57
                                                                                      Date:                                      Signature:
                                                                                                                                                      (Joint Debtor, if any)
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                                                                                                                 Form 22 Continuation Sheet
                                                                             Income Month 1                                          Income Month 2

                                                                             Gross wages, salary, tips...           222.68    0.00   Gross wages, salary, tips...         222.68     0.00
                                                                             Income from business...                  0.00    0.00   Income from business...                0.00     0.00
                                                                             Rents and real property income...        0.00    0.00   Rents and real property income...      0.00     0.00
                                                                             Interest, dividends...                   0.00    0.00   Interest, dividends...                 0.00     0.00
                                                                             Pension, retirement...                   0.00    0.00   Pension, retirement...                 0.00     0.00
                                                                             Contributions to HH Exp...               0.00    0.00   Contributions to HH Exp...             0.00     0.00
                                                                             Unemployment...                          0.00    0.00   Unemployment...                        0.00     0.00
                                                                             Other Income...                        643.00    0.00   Other Income...                      643.00     0.00



                                                                             Income Month 3                                          Income Month 4


                                                                             Gross wages, salary, tips...           222.68    0.00   Gross wages, salary, tips...         222.68     0.00
                                                                             Income from business...                  0.00    0.00   Income from business...                0.00     0.00
                                                                             Rents and real property income...        0.00    0.00   Rents and real property income...      0.00     0.00
                                                                             Interest, dividends...                   0.00    0.00   Interest, dividends...                 0.00     0.00
                                                                             Pension, retirement...                   0.00    0.00   Pension, retirement...                 0.00     0.00
                                                                             Contributions to HH Exp...               0.00    0.00   Contributions to HH Exp...             0.00     0.00
                                                                             Unemployment...                          0.00    0.00   Unemployment...                        0.00     0.00
                                                                             Other Income...                        643.00    0.00   Other Income...                      643.00     0.00


                                                                             Income Month 5                                          Income Month 6

                                                                             Gross wages, salary, tips...           222.68    0.00   Gross wages, salary, tips...         222.68     0.00
                                                                             Income from business...                  0.00    0.00   Income from business...                0.00     0.00
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                                                                             Rents and real property income...        0.00    0.00   Rents and real property income...      0.00     0.00
                                                                             Interest, dividends...                   0.00    0.00   Interest, dividends...                 0.00     0.00
                                                                             Pension, retirement...                   0.00    0.00   Pension, retirement...                 0.00     0.00
                                                                             Contributions to HH Exp...               0.00    0.00   Contributions to HH Exp...             0.00     0.00
                                                                             Unemployment...                          0.00    0.00   Unemployment...                        0.00     0.00
                                                                             Other Income...                        643.00    0.00   Other Income...                      643.00     0.00



                                                                                                          Additional Items as Designated, if any




                                                                                                                             Remarks
